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                          UNITED STATES DISTRICT COURT

                         WESTERN DISTRICT OF LOUISIANA

                         LAFAYETTE-OPELOUSAS DIVISION

  UNITED STATES OF AMERICA                         *       CRIM. NO. 06-60021-06

  VERSUS                                           *       JUDGE MELANCON

  CHAD ZENO                                        *        MAGISTRATE JUDGE HILL

                          REPORT AND RECOMMENDATION

         The defendant, Chad Zeno (”Zeno”), filed a Motion to Suppress items seized

  during several searches and seizures made on four separate occasions. (rec. doc. 64). The

  government has opposed the motion. (rec. doc. 78). The motion was referred to the

  undersigned pursuant to 28 U.S.C. § 636(b)(1)(B) for Report and Recommendation. The

  undersigned conducted an evidentiary hearing on the defendant’s motion. (rec. doc. 93).

  The parties were given leave to file post-hearing memoranda, which each did. (rec. doc.

  99 and 100). For those reasons set out below, it is the recommendation of the undersigned

  that the motion be GRANTED in part and DENIED in part.

                                  PROCEDURAL SETTING

         The defendant was indicted for violation of Title 18 United States Code §§ 841(a)

  (1)(a) and 846 with seven co-defendants. The charges against this defendant primarily

  arise from several searches which occurred on four separate occasions on four different

  dates. The facts surrounding each search are different. The defendant filed a motion to

  suppress the items seized on each of these four occasions. For clarity, the search or
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  searches conducted on each date will be treated separately.

                                       THE SEARCHES

         A. Search on November 20, 2003

         1. Facts

         On November 20, 2003, local police searched the premises of 1121 South

  Magnolia Street in Lafayette. That premises was a building which had formerly been

  owned by the defendant which he had operated as a restaurant. The defendant had, at

  some time in the past, sold the building to Tellis Vallier. (Tr. 43). At the time of the

  search, Vallier was trying to sell the building and had listed it with a realtor for sale. A

  “For Sale” sign was in place in front of the building. (Tr. 52).

         After developing what he believed to be probable cause sufficient to search the

  building, Detective John Kelly (“Kelly”), Lafayette Parish Sheriff’s Office, decided to

  apply for a state search warrant to search the building. In that regard, Kelly went back to

  his office to type a search warrant application and warrant for presentation to state

  District Judge Ed Rubin of the Fifteenth Judicial Court. Apparently, the computer

  software which Kelly had used in the past to prepare search warrants and search warrant

  applications had been changed. Kelly called his supervisor and reported that he, Kelly,

  had found the search warrant application template, but that he was unable to find the

  template for the warrant. (Tr. 19). Kelly was told by his supervisor to bring what he had

  (the search warrant application) to Judge Rubin and to thereafter show the owner of the



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  property what had been signed and “go from there”. (Tr. 19). No actual search warrant

  was ever presented to Judge Rubin, so, of course, no search warrant was ever signed. (Tr.

  29). The affidavit, which is clearly entitled “APPLICATION FOR AND AFFIDAVIT(S)

  IN SUPPORT OF ISSUANCE OF SEARCH WARRANT”, was signed and sworn by

  Kelly before Judge Rubin, who signed the application as the person administering the

  oath to the affiant, Kelly. (Government Exhibit 1). Kelly testified that he knew that when

  requesting a search warrant, certain documents are necessary, but that he had done as

  ordered by his supervisor. (Tr. 30). In short, the record is absolutely clear: no search

  warrant was ever presented to Judge Rubin and no search warrant was ever signed.

           Kelley took the signed application to the premises, presented the application as a

  search warrant and conducted a full search of the premises. Various items of evidence

  were seized. Kelly then returned to Judge Rubin’s chambers and made his return on the

  warrant. Kelly did not see Judge Rubin at that time; he left the search warrant return with

  Judge Rubin’s secretary. (Tr. 39). Kelly said that he had applied for and executed more

  than forty search warrants in his career and that he was aware of how the process worked;

  on each of those more than forty occasions, a judge signed an order authorizing the

  search. (Tr. 35).1




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             This issue was tried in state court to Judge Durwood Conque on a motion to suppress evidence on state
  charges which had been filed against the defendant. A copy of the transcript of that hearing was filed as an exhibit in
  this hearing. In that hearing, Judge Conque held the evidence obtained as a result of the search was admissible at
  trial. However, Judge Conque was led to believe that a search warrant had, in fact, been issued. No warrant was ever
  produced in that hearing. Clearly, Judge Conque was misled.

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            2. Law and analysis

                   a. The search

            At the time of the hearing, the undersigned noted that it was apparent that no

  warrant was ever obtained in this case and that it appeared that the search was made

  without a warrant. The government was allowed time to attempt to find jurisprudential

  authority to support the position that the affidavit signed by Kelly and served by him as a

  warrant was, in law, a search warrant. The government cited no such authority in its post-

  hearing memorandum. Rather, the government argued that the good faith exception to the

  exclusionary rule exists under these facts and, further, that Zeno does not have standing to

  contest the search. (rec. doc. 100, p. 2).

            The government apparently concedes, as it must, that no search warrant was

  issued.

            Similarly, the government does not argue that the affidavit signed by Kelly can

  serve as a warrant. Rather, the government relies on United States v. Kelley, 140 F.3d

  596, 602 (5 th Cir. 1998), for the proposition that the evidence obtained from the premises

  of the search is admissible under the good faith exception to the exclusionary rule which

  was articulated in United States v. Leon, 468 U.S. 897, 922-23, 104 S.Ct.3405, 3420-21

  (1984).

            In Kelley, an IRS agent submitted a search warrant application and an unsigned

  warrant to the Magistrate Judge for his consideration. The Magistrate Judge asked several



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  questions, commented on the facts contained in the application, and determined that

  probable cause existed for the search. Thereafter, the Magistrate Judge signed the search

  warrant application, using an incorrect date and forgot to sign and date the warrant which

  he returned to the agent. The Magistrate Judge answered affirmatively when he was asked

  by the agent if all necessary steps for securing the warrant had been taken. Kelley, 140

  F.3d at 602 n. 4. Based on these facts, the Fifth Circuit applied Leon, holding that the

  agent was in good faith in relying on that which he had been told by the Magistrate Judge.

  The court held that the warrant which had been returned to the agent was technically

  insufficient, in that it lacked a signature and a date. Id. at n. 5. Accordingly, the

  application of the exclusionary rule was inappropriate.

         Implicit in the court’s holding in Kelly is that a warrant, in fact, existed. That is not

  the case here. No warrant was ever prepared; no warrant was ever presented to Judge

  Rubin for his consideration. Accordingly, no warrant was ever issued; unlike Kelly, this is

  not a case of a failure of the Judge to perform a mere ministerial duty, that is, the signing

  of a warrant after probable cause has been determined. Here, no warrant ever existed.

         Furthermore, the court in Leon made it clear that for the good faith exception to

  apply, an officer’s reliance on the technical sufficiency of the warrant not only must be

  made in good faith, but also must be objectively reasonable; the Court recognized that in

  some circumstances an officer will not have objectively reasonable grounds for believing

  that a warrant is valid.(emphasis added) Id. at 3420-21. In this case, no warrant ever



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  existed. Kelly cannot have had a good faith belief in the validity of a warrant which never

  existed and which he knew had never been prepared.

         Additionally, Kelly cannot be said to have had “objectively reasonable” good faith.

  Kelly quite candidly admitted that he had been involved in executing over forty search

  warrants and that he was fully aware that in each case a judge signed an order authorizing

  the search. Indeed, Kelly knew that he had no such order in this case and specifically

  asked his supervisor about the location of the template for the order authorizing the

  search (the warrant). His supervisor told Kelly to “go with what he had,” and that is what

  Kelly did. No search warrant was ever prepared, much less presented to Judge Rubin for

  his consideration. Kelly objectively knew that a warrant was required and that he did not

  have one. Under the circumstances of this case, Leon does not apply.

         The Fourth Amendment prohibits unreasonable searches and seizures. Warrantless

  searches are per se unreasonable, and are subject to only a few well-delineated

  exceptions. The burden is on the government to show the existence of one of these

  exceptions. Katz v. United States, 389 U.S. 347, 357, 88 S.Ct. 507, 514 (1967); Vale v.

  Louisiana, 399 U.S. 30, 34, 90 S. Ct. 1969, 1972 (1970); Coolidge v. New Hampshire,

  403 U.S. 443, 455, 91 S.Ct. 2022, 2032 (1971) and United States v. Jones, 234 F.3d 234,

  239 (5 th Cir. 2000). Here, the government concedes that no exception to the search

  warrant requirement exists. Accordingly, since the search of the building located at 1121

  South Magnolia Street in Lafayette was conducted without a warrant and since no



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  exception to the warrant requirement exists, the search was unreasonable in Fourth

  Amendment terms.

                b. Standing

         The government argues that the defendant has no standing to contest the search

  because he did not have a reasonable expectation of privacy in “a vacant building that he

  did not own or rent.” (rec. doc. 100, p. 2). The government’s argument on this issue

  consists of one paragraph with no supporting legal authority.

         The defendant argues that, under the principles of Alderman v. United States, 349

  U.S. 165, 179, 89 S.Ct. 961,969 (1969) and Rawlings v. Kentucky, 448 U.S. 98, 104,100

  S.Ct. 2556, 2561 (1980), that he had a reasonable expectation of privacy, that is, an

  expectation of privacy that has a source outside the Fourth Amendment, either by

  reference to concepts of real or personal property law, or to understandings that are

  recognized and permitted by society. (rec. doc. 99, p. 4). The defendant further cites Dow

  Chemical Company v. United States, 476 U.S. 227, 235, 106 S.Ct. 1819, 1825 (1986) and

  Marshall v. Barlow’s, 436 U.S. 307, 311, 98 S.Ct. 1816, 1819 (1978), for the proposition

  that the warrant clause of the Fourth Amendment protects commercial buildings as well

  as private homes.

         To determine if Zeno has standing to contest the search, the question becomes

  whether or not Zeno had a reasonable expectation of privacy in the building searched.

  Stated another way, did Zeno have an expectation of privacy outside the Fourth


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  Amendment, one that is granted by reference to concepts of real or personal property law

  or understandings that are recognized and permitted by society? Alderman, supra.

         The Fifth Circuit has characterized the issue thusly: Whether there is standing to

  contest the validity of a search “depends on (1) whether the defendant is able to establish

  an actual, subjective expectation of privacy with respect to the place being searched or

  items being seized, and (2) whether that expectation of privacy is one which society

  would recognize as reasonable.” U.S. v. Gomez, 276 F.3d 694, 697 (5 th Cir. 2001).

  The defendant has the burden of proving such an expectation by a preponderance of the

  evidence. United States v. Vega, 221 F.3d 789, 795 (5 th Cir. 2000).

         The courts have recognized that the Fourth Amendment's prohibition on

  unreasonable searches and seizures is applicable to commercial premises, as well as to

  private homes. An owner or operator of a business thus has an expectation of privacy in

  commercial property, which society is prepared to consider as reasonable. New York v.

  Burger, 482 U.S. 691,699, 107 S.Ct. 2636, 2642 (1987).

         A lessee of a residence has a legitimate expectation of privacy in the residence.

  Vega, 221 F.3d at 795. Since Fourth Amendment protection extends to businesses as well

  as homes, Burger, it follows that a lessee of a business has a legitimate expectation of

  privacy in the business premises. Indeed, in United States v. Cardoza-Hinojosa , 140 F.3d

  610, 613 (5 th Cir. 1998), the court noted that it was “settled law” that the Fourth

  Amendment's protections against arbitrary searches and seizures are presumptively

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  applicable not only in an individual’s home, but also in any commercial premises he may

  own or use.

         It is clear, however, that a property interest alone, in the premises searched is not

  sufficient to confer standing. Rather, the Fifth Circuit has identified a “nuclei” of factors

  to be considered in determining whether a reasonable expectation of privacy exists. These

  factors are: whether the defendant has a property or possessory interest in the thing seized

  or the place searched, whether he has a right to exclude others from that place, whether he

  has exhibited a subjective expectation of privacy that it would remain free from

  governmental intrusion, whether he took normal precautions to maintain privacy and

  whether he was legitimately on the premises. Cardoza-Hinojosa, 140 F.3d at 615, citing

  United States v. Ibarra, 948 F.2d 903, 905 (5 th Cir. 1991).

         Applying these factors to the facts of this case, I find that Zeno had a reasonable

  expectation of privacy in the building located at 1121 South Magnolia Street in Lafayette,

  and thus has standing to contest the search.

         Previously, the building that was searched was owned by Zeno; he had operated a

  restaurant there. (Tr. 43-44). At the time of the search, Zeno testified that he had agreed

  with the owner of the building, Tellis Vallier, to rent the building for $700 per month and

  re-open his restaurant. There was no written lease agreement between Zeno and Vallier.

  At the time of the search, the restaurant was not open for business, and no rent had yet

  been paid. (Tr. 47). The building interior was in need of repair before the restaurant could


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 re-open. It was agreed that Zeno would do the repairs and the clean-up which was

 necessary, at his own expense, and that the rental would not be due until after the

 restaurant re-opened when the repairs were completed. Zeno further testified that if the

 restaurant was successful, he had an option to buy the building back from Vallier. (Tr.

 50). At the time of the search, the building had a “For Sale” sign posted. Apparently

 Vallier had the building on the market for sometime and had been unsuccessful in selling

 it. (Tr. 50). Vallier had given Zeno the keys to the building. (Tr. 47).

        Zeno’s testimony was partially corroborated by Kelly’s investigation. Kelly

 testified that he talked to Vallier, the owner of the building, who told Kelly that he,

 Vallier, was in the process of selling the building back to Zeno although they had no

 written agreement. (Tr. 53). Kelly confirmed that a “For Sale” sign was posted in front of

 the building. Vallier did not say anything to Kelly about a lease or lease-purchase; Kelly

 did not ask. Vallier told Kelly that he, Vallier, did not have a key to the building and that

 he had given the keys to Zeno. The building was locked with deadbolt locks when the

 officers entered. (Tr. 59). At the time of the search, Zeno had the key to the building locks

 in his pants pocket. Zeno was the only person in the building at the time of the search.

 (Tr. 64). When the officers entered, there was trash everywhere and the building needed

 cleaning. (Tr. 56 and 58). There were paint and rollers in the building and some painting

 had been done. (Tr. 61).




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        Based on the above, and particularly that portion of Zeno’s testimony that was

 corroborated by Kelly’s investigation, I find that the defendant, Zeno, has standing to

 contest the constitutionality of the search at 1121 South Magnolia Street in Lafayette.

 Clearly, Zeno had a possessory interest in the building, either as a lessee or prospective

 purchaser. Vallier had given all of his keys to Zeno. Zeno was legally in the building,

 alone, at the time of the search and had the right and ability (by virtue of his possessory

 interest and his having the keys in his possession) to exclude others from the premises.

 Furthermore, Zeno exercised his dominion and control over the building by locking the

 doors with deadbolt locks.

        While Zeno’s status as lessee is not conceded by the government, it is undisputed

 that the building’s owner had turned the building over to Zeno, and that Zeno was doing

 repairs and painting in the building. This further corroborates part of Zenos’ story. In

 applying the “nuclei” of factors set out by the Fifth Circuit in Ibarra to the facts here, it is

 clear that Zeno has standing. Zeno had (at least) a possessory interest in the building, had

 a right to exclude others from the building (as shown by the locked door and possession

 of the keys), exhibited a subjective expectation of privacy (by locking the doors), and

 took normal precautions to maintain privacy (again by locking the doors). In short, each

 of the “nuclei” set forth in Ibarra is present here. Zeno has standing to contest this search.

        Since Zeno has standing to contest the constitutional validity of the search, since

 the search was conducted without a warrant and since none of the exceptions to the


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 warrant requirement exist (none are even argued by the government), the motion to

 suppress the items seized in the search of the premisses located at 1121 South Magnolia

 Street, Lafayette, Louisiana on November 20, 2003 should be granted.


        B. Search on August 18, 2005

        1. Facts

        Lafayette City Police Officer Glenn Landry (“Landry”) was patrolling in his

 marked police unit on Cora Street approaching its intersection with Paul Breaux Street. At

 that time, he saw a vehicle approach the intersection, come to a complete stop, and then

 begin to back up at what Landry considered high speed. (Tr. 68). That neighborhood has

 children and pedestrians which often walk on the street, and had cars parked on the street

 which restricted vision for drivers and pedestrians. Landry turned onto Paul Breaux

 Street, in front of the backing car, and turned on his overhead lights. The vehicle then

 backed into a driveway on Paul Breaux; Landry followed. (Tr. 69). Landry told the driver

 of the vehicle (Zeno) to exit the vehicle, which he did. Landry asked Zeno for his driver’s

 license and proof of insurance. Landry was extremely nervous and was visibly shaking.

 (Tr. 71). When Landry approached Zeno’s car, he “observed” a strong smell of marijuana

 coming from the car. (Tr. 70). Landry decided to detain Zeno for further questioning and

 started to handcuff Zeno. A that point, Zeno began to run. After a short pursuit, Zeno was

 caught and handcuffed. (Tr. 71).




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        A drug detection dog was summoned and alerted on the car. The car was thereafter

 searched, and various items were seized therefrom. (Tr. 72-73). A search of Zeno’s

 person, conducted prior to the arrival of the dog but after he was handcuffed, resulted in

 the seizure of a small amount of marijuana from his back pocket. (Tr. 71). Landry

 testified that when he first attempted to handcuff Zeno, that he did so for “officer safety”

 and that he did not intend to arrest Zeno at that time. (Tr. 73).

        2. Law and analysis

        The defendant agues that the initial stop of the defendant was illegal and that

 therefore the subsequent searches were illegal, also. Specifically, the defendant argues

 that Zeno committed no traffic offense and that since Landry had no reasonable

 articulable suspicion that Zeno had, or was about to, commit an offence, the stop was

 illegal under Terry v. Ohio, 392 U.S. 1, 88 S.Ct. 1868 (1968). The defendant further

 argues that since Landry had no right to arrest Zeno and that since the handcuffing of

 Zeno constituted an arrest, that Zeno was free to run because in Louisiana a person has a

 legal right to resist an unlawful arrest. (rec. doc. 99, p. 6-8).

        Landry was legally justified in stopping the defendant. L.R.S. 32:281 provides, in

 pertinent part, that the driver of a vehicle shall not “back same” unless such movement

 can be made in reasonable safety. Given the neighborhood in which the incident occurred

 and the speed of the vehicle, Landry was justified in stopping the defendant to investigate

 his driving. The fact that Landry testified that he did not recall seeing any pedestrians

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 present does not change the fact that Landry was justified in stopping the car to

 investigate. Landry was also fully justified in asking Zeno for his license and proof of

 insurance. This led to Landry’s “smell” of the marijuana.

        The legality of a traffic stop is analyzed under the framework articulated in Terry.

 Under the two-part Terry reasonable suspicion inquiry, the court must determine whether

 the officer's action was: (1) “justified at its inception”; and (2) “reasonably related in

 scope to the circumstances which justified the interference in the first place.” Terry, 392

 U.S. at 19-20; United States v. Brigham, 382 F.3d 500, 506 (5 th Cir. 2004), en banc and

 U.S. v. Lopez-Moreno, 420 F.3d 420, 429-434 (5th Cir. 2005).

        For a traffic stop to be justified at its inception, an officer must have an objectively

 reasonable suspicion that some sort of illegal activity, such as a traffic violation, occurred,

 or is about to occur, before stopping the vehicle. See United States v. Breeland, 53 F.3d

 100, 102 (5th Cir.1995). In making a reasonable suspicion inquiry, a court “must look at

 the ‘totality of the circumstances’ of each case to see whether the detaining officer has a

 ‘particularized and objective basis’ for suspecting legal wrongdoing.” United States v.

 Arvizu, 534 U.S. 266, 273, 122 S.Ct. 744, 750 (2002); United States v. Cortez, 449 U.S.

 411, 417, 101 S.Ct. 690, 695 (1981). Reasonable suspicion exists when the officer can

 point to specific and articulable facts which, taken together with rational inferences from

 those facts, reasonably warrant the stop. See, e.g., United States v. Santiago, 310 F.3d

 336, 340 (5th Cir.2002). In evaluating the totality of the circumstances, a court may not


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 consider the relevant factors in isolation from each other. Arvizu, 534 U.S. at 274, 122

 S.Ct at 751. However, it is clear that the officer's mere hunch will not suffice. Terry, 392

 U.S. at 27. It is also clear that reasonable suspicion need not rise to the level of probable

 cause. Arvizu, 534 U.S. at 274, 88 S.Ct. at 1883.

        In applying these principles to the facts of this case, it is clear that Landry’s initial

 stop of Zeno was permissible. Landry had cause to believe that Zeno had violated L.R.S.

 32:281 because of the speed of his backing in a residential neighborhood with restricted

 driver and pedestrian vision. Since Landry stopped Zeno for a potential traffic violation,

 the stop was justified at it inception. Once a police officer stops a person for a traffic

 violation, he is entitled to ask the driver for his license and proof of insurance. United

 States v. Brigham, 382 F.3d at 506-507. That is precisely what Landry did here. It was at

 that time that Landry smelled the marijuana.

        It was at this point that Landry attempted to handcuff Zeno for, in Landry’s words,

 “officer protection” while his investigation continued. At that point, Landry had

 reasonable suspicion, but did not have probable cause to arrest. Indeed, Landry testified

 he did not intend to arrest Zeno at that time. Landry’s intentions aside, there is no real

 question but that placing handcuffs on Zeno would have been an arrest.

        La.Code Crim. Proc. art. 201 defines “arrest” as:

                Arrest is the taking of one person into custody by another. To constitute
        arrest there must be an actual restraint of the person. The restraint may be imposed
        by force or may result from the submission of the person arrested to the custody of
        the one arresting him.

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        In State v. Thibodeaux, 414 So.2d 366, 368 (La.1982), the Louisiana Supreme

 Court stated: “[w]hether a person has been taken into custody, detained or deprived of his

 freedom in a significant way must be decided by an objective test. Neither the defendant's

 subjective impression nor the formality of an official arrest will be determinative of the

 issue of his claimed illegal detention.” Rather, the proper inquiry is whether the person,

 in view of the circumstances, is prevented from exercising his liberty for more than a

 transitory moment. (citations omitted). Id. Once there is an extended restraint on one's

 liberty, that person is under arrest. State v. Freeman, 503 So.2d 753, 757 (La.App. 3 Cir.

 1987), see also United States v. Mendenhall, 446 U.S. 544, 554, 100 S.Ct. 1870, 1877

 (1980).

        The defendant argues that since Landry sought to make an illegal arrest (the

 handcuffing of Zeno), that Zeno was entitled to resist that arrest. The defendant cites City

 of Monroe v. Ducas, 14 So.2d 781, 784 (La. 1943) in support of that argument. While a

 correct statement of Louisiana law, the defendant’s argument misses the point here. While

 the defendant has the right to run from the police if he is resisting an unlawful arrest, and

 while it is true that merely running from the police does not violate the law, State v.

 Grogan, 373 So.2d 1300 (La. 1979), flight from the police may be used by the police as

 one of the factors to establish probable cause to arrest. State v. Flanagan, 691 So.2d 866,

 869 (La. App. 2 Cir. 1997).




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         If additional reasonable suspicion arises in the course of the stop and before the

 initial purpose of the stop has been fulfilled, then the detention may continue until the

 new reasonable suspicion has been dispelled or confirmed. See Brigham, 382 F.3d at 507;

 United States v. Grant, 349 F.3d 192, 196 (5th Cir. 2003). Accordingly, when Zeno ran

 from Landry, even though Zeno’s running was a legal act, Landry was entitled to consider

 that fact in determining probable cause to arrest. Clearly acts legal on their face, as well

 as illegal acts, may lead to probable cause to arrest. Therefore, when Zeno was caught and

 handcuffed, the police had probable cause (the strong smell of marijuana, Zeno’s extreme

 nervousness and Zeno’s attempted flight) to arrest Zeno. Since the police had probable

 cause to arrest Zeno, they were entitled to search his person. United States v. Charles, ___

 F.3d ___, 2006 WL 3114481, *2 (5 th Cir. 2006).

         Zeno’s flight, arrest and the smell of marijuana in the car was sufficient to cause

 additional reasonable suspicion to further prolong the stop until the drug dog could be

 summoned to “check” the car. Once the dog alerted on the car, there was sufficient

 probable cause to search the car at that time.2

         As stated above, the Fourth Amendment prohibits unreasonable searches and

 seizures. Warrantless searches are per se unreasonable, and are subject to only a few well

 delineated exceptions. The burden is on the government to show the existence of one of


         2
             Indeed, it has been held that the smell of marijuana alone is sufficient probable cause to search a vehicle

 United States v. McSween, 53 F.3d 684, 686-687 (5th Cir.1995) (the smell of marijuana alone may be enough for a
 finding or probable cause), and cases cited therein.

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 these exceptions. Katz, 389 U.S. at 357, 88 S. Ct. at 514 (1967); Vale, 399 U.S. at 34, 90

 S.Ct. at 1972 (1970); Coolidge, 403 U.S. at 455, 91 S.Ct. at 2032 (1971) and United

 States v. Jones, 234 F.3d at 239. To justify the search of the car, the government relies on

 the so-called automobile exception to the warrant requirement. Pennsylvania v. Labron,

 518 U.S. 938, 940, 116 S.Ct. 2485, 2487 (1996); see also U.S. v. Williams, 124 Fed.Appx.

 885, 887 (5th Cir. 2005) and U.S. v. Scott, 108 Fed.Appx. 168, 169 (5th Cir. 2004).

        Since the police searched the Zeno vehicle with probable cause, the search was

 constitutionally permissible even though no search warrant was obtained. Labron,

 Williams and Scott. Accordingly, for these reasons, the defendant’s motion to suppress the

 evidence obtained from the search of the defendant’s person and the vehicle he was

 driving on August 18, 2005, should be denied.

        C. Search on October 14, 2004

        1. Facts

        On October 14, 2004, Officer Brion Gilbert, Lafayette City Police, was on patrol in

 downtown Lafayette, near Taft Street and Convent Street, when he observed a vehicle

 traveling without headlights. It was after 10:00 p.m. and fully dark. (Tr. 80 and 84).

 Officer Gilbert effected a traffic stop for the violation. Gilbert identified the driver as the

 defendant, Zeno. Gilbert, who had previously worked in the narcotics unit, recognized a

 strong smell of marijuana on the person of the defendant and also coming from the car.

 (Tr. 81). Gilbert patted the defendant down for weapons, and called for a narcotics dog.


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 Gilbert advised Zeno of his Miranda rights. Zeno denied possessing any drugs, but did

 admit to having smoked marijuana earlier that day. (Tr. 83). After the dog arrived, it

 “alerted” on the vehicle and the vehicle was searched. Various items were seized from the

 car. (Tr. 82).

        2. Law and analysis

        Without again reciting the legal principles and authorities discussed above, it is

 clear that the initial stop by Gilbert was permissible under Terry, that reasonable

 suspicion arose during the course of the stop (and before the initial purpose of the stop

 ended) sufficient to justify the continued detention of the defendant to permit the search

 of the car. See Brigham, 382 F.3d at 507 and Grant, 349 F.3d at 196. Given the strong

 smell of marijuana coming from both the vehicle and from the defendant’s person, the

 defendant’s admission that he had smoked marijuana earlier that day and the “alert” by

 the narcotics dog on the car, probable cause to search the car clearly existed. The search

 of the vehicle with probable cause and without a warrant was permissible pursuant to

 Labron.

        Accordingly, the motion to suppress the items seized from the defendant’s vehicle

 on October 14, 2004 should be denied.




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        D. Search on May 17, 2000

        1. Facts

        On May 17, 2000, then Sergeant McCullan Gallien (“Gallien”) was working in the

 Lafayette Metro Narcotics Task Force (“Task Force”). (Tr. 86). On May 16, 2000, a

 confidential informant (“CI”) working for the Task Force made a purchase of crack

 cocaine from a residence located at 318 Sunnyside Street in Lafayette. Following that

 buy, and perhaps one other buy from the same address the next day, Agent Chad

 Landreneau (“Landreneau”) of the Task Force applied for, and obtained, a state search

 warrant for that residence. Gallien was present when the warrant was executed on May

 17. (Tr. 88). The application and warrant were introduced at the hearing as Government

 Exhibit 2. (Tr. 91). When the warrant was executed, a number of people outside the house

 were detained, one of whom was Zeno. (Tr. 94). There was no arrest warrant for Zeno,

 and Gallien had no reason to believe Zeno had committed a crime. (Tr. 95). Zeno did not

 live at 318 Sunnyside, the location where the warrant was executed. (Tr. 96). Zeno

 testified that his grandfather lived at 318 Sunnyside. On the day of the search, Zeno

 testified that he drove his car into the driveway at his grandfather’s house, left the engine

 running, got out of the car and went up onto the porch to visit his grandfather. Zeno

 testified that he was there for about five minutes when the police arrived to execute the

 warrant. (Tr. 100).




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        Zeno testified that the police pulled him off of the porch and put him face down on

 the ground. Zeno said that he was held there for about thirty minutes to an hour. The

 officers then got Zeno off of the ground and handcuffed him. The officers then went over

 to the car, which was still running, and began to look inside. Thereafter, Zeno testified

 that he gave the officers permission to search the car. (Tr. 100-101). Zeno estimated that

 he gave the permission to search to the officer about an hour and a half to two hours after

 the search of the house began. (Tr. 102).3 Zeno testified that he gave his consent to search

 the car voluntarily. (Tr. 105).

        2. Law and analysis

        The search warrant for the house was issued by Commissioner Diana Simon of the

 Fifteenth Judicial District Court. The warrant authorized the search of “the place 318

 Sunnyside Street, Lafayette ....” (Government Exhibit 2). The defendant argues that the

 search warrant does not authorize the search of the defendant’s car, which was found on

 the premises at the time the search warrant was executed. The defendant further argues

 that the officers improperly detained the defendant, and that this detention was the result

 of the unlawful detention rather than an act of the defendant’s free will. The defendant

 urges the court to consider not only the defendant’s consent, but also the temporal

 proximity between the detention and the consent, citing Brown v. Illinois, 422 U.S. 590,

 603-04, 95 S.Ct. 2254, 2261-62 (1975). (rec. doc. 99, p.13). The government relies on the



        3
            Gallien said he did not remember how long Zeno was detained before his vehicle was searched. (Tr. 97).

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 defendant’s consent to search his vehicle as justifying the search. Neither in the original

 opposition to the defendant’s motion to suppress nor in the post-hearing memorandum

 does the government argue that the search warrant for the house located at 318 Sunnyside

 authorized the search of the car. (rec. doc. 78 and 100).

          Furthermore, the government fails to address the delay between the initial

 detention of the defendant and the time when the consent to search the car was given.

 Clearly the police had the right to detain Zeno, at the scene, initially for their protection

 and later for investigative purposes. Such a seizure of Zeno’s person is authorized by

 Terry. However, as was discussed above, the duration of the detention must not only be

 justified at its inception; it must also be reasonably related in scope to the circumstances

 which justified the detention in the first place. There is nothing in this record which

 would allow the undersigned to find that the detention of Zeno for up to two hours was

 reasonably related to the circumstances which originally justified the detention. Quite

 simply, no evidence was adduced at the hearing which would justify the police detaining

 Zeno for up to two hours before he gave the consent to search.4

          The Fifth Circuit has had occasion to analyze many traffic stops which resulted in

 otherwise valid consents to search under Terry. The holdings in United States v. Dortch,

 199 F. 3d 193 (5 th Cir. 1999) and United States v. Jones, supra., would seem to require



          4
          Gallien testified that he thought Zeno was free to leave after having been patted down, but the fact is that
 Zeno was apparently never told he could leave, was put face down on the ground and at some point was handcuffed.
 These facts are not consistent with Gallien’s belief that Zeno was free to go.

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 that the court grant the defendant’s motion to suppress the items found in the search of

 the car because of the delay between the time of the initial detention (albeit not a traffic

 stop) and the time that the consent to search was given. However, the analysis in this case

 does not end there.

        Although the government does not argue that the search of the car was justified by

 the search warrant for the house, that appears to be the case. The search warrant

 authorized the search of “the place located at 318 Sunnyside Street, Lafayette,

 Louisiana.” It is uncontradicted that Zeno’s car was in the driveway at that “place” when

 the police arrived to execute the warrant. The defendant argues that the search of the car

 pursuant to the warrant would violate the “particularity requirement” of the Fourth

 Amendment. In support of that argument, the defendant relies on Ybarra. In Ybarra, the

 Supreme Court held that a search warrant for a particular premises does not authorize the

 search of persons found at the premises. The defendant argues that the same rule should

 apply to cars found on the premises, but not identified in the warrant.

        The defendant’s argument is not without appeal. Unfortunately for him, it has been

 rejected by the Fifth Circuit. In U.S. v. Singer, 970 F.2d 1414, 1418 (5 th Cir.1992), the

 court noted that “[t]his court has consistently held that a warrant authorizing a search of

 ‘the premises’ includes vehicles parked on the premises.” Singer relied on a long line of

 cases in the Fifth Circuit including United States v. Cole, 628 F.2d 897, 899 (5th

 Cir.1980), cert. denied, 450 U.S. 1043, 101 S.Ct. 1763, 68 L.Ed.2d 241 (1981); United



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 States v. Freeman, 685 F.2d 942, 955 (5th Cir.1982) ( “the warrant for a search ‘on the

 premises known as 256 Seadrift Road’ was sufficiently particular to permit a search of [a

 jeep] parked on the premises off the street and close to the house.”) and United States v.

 Napoli, 530 F.2d 1198, 1200 (5th Cir.) cert. denied, 429 U.S. 920, 97 S.Ct. 316, (1976)

 (“the reference to ‘on the premises known as 3027 Napoleon Avenue’ was sufficient to

 embrace the vehicle parked in the driveway on those premises.”).

        Any argument that the defendant might make that Zeno’s car was not be covered

 by the warrant because the car was not on the premises at the time the warrant was issued

 (as opposed to when the warrant was executed) is foreclosed by United States v. Alva, 885

 F.2d 250, 251 (5 th Cir 1989). In Alva the court, relying in part on Napoli and Freeman,

 held that a warrant to search “any and all vehicles found on the premises of 223

 Burcham” included a vehicle which arrived at that address after the search began. Id.

        Clearly, if a warrant for the search of premises includes the search of vehicles that

 arrive during the search, a vehicle which is on the premises at the time the search begins

 (even if not there when the warrant was issued) is authorized by the warrant.

        The only difference between the warrant in this case and the warrants at issue in

 Singer, Cole, Freeman and Napoli is that the warrant here was for the “place” rather than

 for the “premises”. The undersigned attaches no constitutional significance to the

 different verbiage, particularly given that “[i]t is enough if the description is such that the

 officer with a search warrant can, with reasonable effort ascertain and identify the place



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 intended.” Steele v. United States, 267 U.S. 498, 503, 45 S.Ct. 414, 416 (1925). With that

 constitutional principle in mind, the undersigned finds no constitutionally significant

 difference in the use of the terms “premises” (in Singer, Cole , Freeman and Napoli) and

 “place” (here) for purposes of the particularity requirement.

          In short, the search of the vehicle driven by Zeno was authorized by the warrant

 because it was located at the “place located at 318 Sunnyside Street, Lafayette,

 Louisiana.” Since the search of the car was authorized by the warrant, the seizure of the

 items from the car was valid, and the motion to suppress those items should be denied.

                                       CONCLUSION

          For the reasons set out above, it is recommended that the motion to suppress filed

 by the defendant Chad Zeno should be granted in part and denied in part as set out

 above.

          Under the provisions of 28 U.S.C. §636 (b) (1) (C) and Rule 72 (b), parties

 aggrieved by this recommendation have ten (10) business days from service of this report

 and recommendation to file specific, written objections with the Clerk of Court. A party

 may respond to another party's objections within ten (10) days after being served with a

 copy of any objections or response to the District Judge at the time of filing.

          Failure to file written objections to the proposed factual findings and/or the

 proposed legal conclusions reflected in this Report and Recommendation within ten

 (10) days following the date of its service, or within the time frame authorized by



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 Fed.R.Civ.P. 6(b), shall bar an aggrieved party from attacking either the factual

 findings or the legal conclusions accepted by the District Court, except upon

 grounds of plain error. See Douglass v. United Services Automobile Association, 79

 F.3d 1415 (5th Cir. 1996).

       Lafayette, Louisiana, December 20, 2006.




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